















NUMBER 13-06-455-CV


COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


_______________________________________________________


BRENDA PORTER,	Appellant,


v.



CORPUS CHRISTI HOUSING AUTHORITY,	Appellee.

_______________________________________________________


On appeal from the County Court at Law No. 5


of Nueces County, Texas.


_______________________________________________________


MEMORANDUM OPINION



Before Justices Yañez, Garza, and Benavides


Memorandum Opinion Per Curiam



	Appellant, BRENDA PORTER, perfected an appeal from a judgment entered by
the   County Court at Law No. 5 of Nueces County, Texas, in cause number 06-61072-5.  The clerk's record was filed on August 15, 2006.  No reporter's record was
filed.  Appellant's brief was due on September 14, 2006.  To date, no appellate brief
has been received.

	When the appellant has failed to file a brief in the time prescribed, the Court
may dismiss the appeal for want of prosecution, unless the appellant reasonably
explains the failure and the appellee is not significantly injured by the appellant's failure
to timely file a brief.  Tex. R. App. P. 38.8(a)(1).

	On December 5, 2006, notice was given to all parties that this appeal was
subject to dismissal pursuant to Tex. R. App. P. 38.8(a)(1).  Appellant was given ten
days to explain why the cause should not be dismissed for failure to file a brief.  To
date, no response has been received.

	The Court, having examined and fully considered the documents on file,
appellant's failure to file a proper appellate brief, this Court's notice, and appellant's
failure to respond, is of the opinion that the appeal should be dismissed for want of
prosecution.  The appeal is hereby DISMISSED FOR WANT OF PROSECUTION.

							PER CURIAM


Memorandum Opinion delivered and filed

this the 1st day of March, 2007

										



